             I N T H E DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:08 CR 107


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                  ORDER
                                       )
MONIKIA TYREE CREDLE.                  )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this court on December 18,

2008. It appearing to the court at the call of this matter on for hearing that the

defendant was present with her attorney, Tony E. Rollman and the government was

present and represented through Assistant United States Attorney Richard Edwards.

From the arguments of counsel for the defendant and the arguments of the Assistant

United States Attorney and the records in this cause, the court makes the following

findings:

      Findings.    On October 8, 2008 a bill of indictment was issued charging the

defendant with conspiracy to traffic in cocaine base, commonly known as crack

cocaine in violation of Title 21 U.S.C. § 841(a)(1) and 846. On December 18, 2008,

the undersigned held an inquiry, pursuant to Rule 11 of the Federal Rules of Criminal

Procedure, and accepted a plea of guilty of the defendant to that charge. At the end




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of the Rule 11 proceeding, this court presented the issue of whether or not the

defendant should now be detained, pursuant to 18 U.S.C. § 3143(a)(2).

      Discussion.     18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence
             that the person is not likely to flee or pose a danger to any other
             person or the community.

      From an examination of the records in this cause, it appears that the defendant

has now entered a plea of guilty on December 18, 2008 to conspiracy to violate 21

U.S.C. § 841(a)(1). That crime is one of the crimes that is referenced under 18 U.S.C.

§ 3142(f)(1)(C). The undersigned made an inquiry of Assistant United States

Attorney Richard Edwards as to whether or not there is going to be a recommendation

that no sentence of imprisonment be imposed upon the defendant. Mr. Edwards

advised the court that such a recommendation could not be made in this matter. As

a result, the undersigned cannot find there is a substantial likelihood that a motion for

acquittal or new trial will be granted or that an attorney for the government has


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recommended that no sentence of imprisonment be imposed upon the defendant. It

would thus appear and the court is of the opinion that the court should apply the

factors as set forth under 18 U.S.C. § 3143(a)(2) which require the detention of the

defendant.

      .

                                     ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby REVOKED and it is ORDERED the defendant be

detained pending further proceedings in this matter.



                                         Signed: December 22, 2008




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